                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

TONIA HARDYWAY,                               )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )      CASE NO.: 3:22-cv-00037
                                              )      JUDGE RICHARDSON
DENIS MCDONOUGH, Secretary                    )      MAGISTRATE JUDGE NEWBERN
of the Department of Veterans Affairs,        )
                                              )
               Defendant.                     )

     DEFENDANT’S PARTIAL MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       Defendant, Denis McDonough, Secretary of the Department of Veterans Affairs

(“Defendant”), submits this Partial Motion to Dismiss Plaintiff’s Complaint.

       Plaintiff Tonia Hardyway (“Plaintiff”) filed this action on January 19, 2022, alleging

employment discrimination at the Department of Veterans Affairs. See generally ECF No. 1.

Defendant now moves pursuant to Fed. R. Civ. P. 12(b)(6) to dismiss Count I of Plaintiff’s

Complaint, disparate treatment, and portions of Counts II and III, retaliation and hostile work

environment, respectively, for failure to state a claim upon which relief can be granted.

       For the reasons discussed more fully in the supporting memorandum and declaration,

Defendant respectfully requests that his Partial Motion to Dismiss be granted and that certain

claims be dismissed from Plaintiff’s Complaint with prejudice. Further, Defendant respectfully

requests that he have thirty days after the Court rules on this motion to file his Answer to the

remaining claims in Plaintiff’s Complaint.




     Case 3:22-cv-00037 Document 27 Filed 04/18/22 Page 1 of 2 PageID #: 205
                                                     Respectfully submitted,

                                                     MARK H. WILDASIN
                                                     United States Attorney
                                                     Middle District of Tennessee

                                              By:    s/ Anica C. Jones
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2022, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to the following, if registered, by operation of the Court’s

electronic filing system. If not registered, notice was sent by United States mail, postage prepaid,

to the following:

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                                                     s/ Anica C. Jones
                                                     ANICA C. JONES
                                                     Assistant United States Attorney




                                     2
    Case 3:22-cv-00037 Document 27 Filed 04/18/22 Page 2 of 2 PageID #: 206
